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                                                                              Prj-F
                                                                        ei»              B 3 khon
                              UNITED STATES DISTRICT COURT                       ^L
                               WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 UNITED STATES OF AMERICA                     § INDICTMENT ^0CR T 73 RP
                                             §   [COUNTS 1-2: 50 U.S.C. §§ 1702,1705(a),
 V.                                          §   and 1705(c),lEEPA CONSPIRACY AND
                                             §   lEEPA VIOLATIONS;
 ILIAS SABIROV,                              §   COUNTS:50U.S.C. § 4819(a)(2)(F),
 DMITAR DIMITROV,                            §   ECRA FALSE STATEMENT;
 MILAN DIMITROV                              §   COUNT 4: 18 U.S.C. 6 1956. MONEY
                                             §   LAUNDERING]

THE GRAND JURY CHARGES:


At All Times Material To This Indictment:



                                        SUMMARY


          1.      As described in detail below, Defendants SABIROV, D. DIMITROV, and M,

DIMITROV worked together to use the Bulgarian company MTIG to receive goods from the

United States that could not be shipped directly to Russia without the permission of the U.S.

Government. Those goods were shipped through Bulgaria to Russia in violation of U.S. law.

                               DEFENDANTS AND ENTITIES


       2.         Ilias Kharesovich Sabirov (SABIROV) is the manager/CEO of two Russian

companies that are co-located in Moscow: Cosmos Complect and 000 Sovtest Comp.

       3.         000 Sovtest Comp(SOVTEST)is an engineering company located in Moscow,

Russia.        The SOVTEST website claimed, among other things, to develop and produce

technological equipment for electronics manufacture. SABIROV is listed as the Managing

Director of SOVTEST.
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